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           EXHIBIT 2
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                   EXHIBIT A TO STIPULATION AND ORDER FOR THE
              IMAGING, PRESERVATION, AND PRODUCTION OF DOCUMENTS

        Consistent with the obligations under the ''Stipulation and Order for the Imaging,

Preservation, and Production of Documents,ECF No. 383, 1 certify that:

        1. The following are all the Social Media Accounts, as defined in TJ 2(xi) of the

Stipulation and Order, that may contain potentially relevant Documents:

                                                                            Status of Account (e.g.,
                                         Provider/                          Active/Inactive/Cannot
    Username/Phone Number                                  Credentials
                                         Platform                             Remember or Recover
                                                                                    Password)

      chiefofstaff@nsm88.org          Email address        7bdl2hN8                Active

      commander@nsm 88.org            Email address                                Inactive

     commanderburt@nsm88.org          Email address        Valerie88               Active

                                      Email address                                Active
       M innesota@gmai l.com                               J6v7w@c28
      nsm88atlanta@gmail.com          Email address        z6AYuDVX                Active

      nsm88bama@gmail.com             Email address        HumQ4ZG8                Active

      nsm88cinci@gmail.com            Email address         63WePcN9               Active

  nsm 8 8connecticut@gmai 1 .com Email address              7nrW8L2m               Active

     nsm 8 8detroit@gmai 1 .com       Email address         zZsfGBtD               Active

      nsm88kansas@gmail.com           Email address         7bPYx2dX               Active

        nsm88ky@gmail.com             Email address                            Inactive/Unknown

     nsm88michigan@gmail.com          Email address        Lima99Odin              Active

      nsm88monroe@gmail.com            Email address         aqfZAaqh              Active

        nsm88ny@gmail.com             Email address        4Nu39SX2                Active

        nsm88r5@gmail.com              Email address      kWX7VwSK                 Active

    nsm88southflorida@gmail.com        Email address       4Ryk3DbU                Active



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                                                                   Status of Account (e.g.,
                                    Provider/                      Active/Inactive/Cannot
    Username/Phone Number                            Credentials
                                    Platform                       Remember or Recover
                                                                           Password)

    nsm88toledo@gmail.com        Email address       v2j5qVZB            Active

     nsm88utah@gmail.com         Email address         ZB683t9           Active

     nsm88utah@gmail.com         Email address         ZB683t9           Active

   nsm88wyoming@gmail.com        Email address        Zj2FAqkq           Active

   nsmalabama88@gmail.com        Email address       mWanEFg9            Active

   nsmambassador@gmail.com       Email address       ct75ec#hg@         Active

     nsmarkansas@gmail.com       Email address        93kVutGU          Active

   nsmchiefo fstaffi@gmail.com   Email address                       Inactive/Unknown

   nsmcolumbus.oh@gmail.com      Email address        G8tbYdgL           Active

     nsmflorida@gmail.com        Email address       5nLHH5T3            Active

     nsmfresno@gmail.com         Email address       M5a9c6v8k           Active

    nsmmaryland@gmai 1 .com      Email address       6KKvKx4T           Active

                                 Email address                           Active
     nsmmsst88@gmail.com                             wfMYpbAr
      nsmnc88@gmail.com          Email address       KHH8PfNR            Active

    nsmorlando88@gmail.com       Email address       9pmHYxPK            Active

       nsmpor@gmail.com          Email address        Astqknpu           Active

     nsmregionl l@gmail.com      Email address                         Inactive/U nknown

   nsmregion4hq@gmail.com        Email address       123bingo            Active

                                 Email address                           Active
   nsmregion9hq@gmail.com                            ?9I8xcdyz44
   nsmssdivision@gmail.com       Email address       59xZwk99t           Active

    nsm verm ont@gmail .com      Email address       Redbannerl          Active

   nsmwestvirginia@gmail.com     Email address       h75wX4e5            Active



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                                                                              Status of Account (e.g.，
                                  Provider/                                   Active/Inactive/Cannot
    Username/Phone Number                               Credentials
                                  Platform                                      Remember or Recover
                                                                                      Password)

      r3nsm88@gmail.com          Email address       RZ2-dFH-k8s- zRv                  Active

                                  Benchmark
                                                     Chiefbfstafl@nsm88.org
                                  (newsletter        Valerie88                        Active
                                   service)

                                                                                 516 number is Active
         516-453-6058          BlogTalkRadio Commanderburt@nsm 8 8. org          213 number in not

         213-943-3765          (podcast service) Podcaster20                     active and I have never had admin
                                                                                 access


          NSM Media/
                                   Bitchute                                      Never had access
  nsm88media2@protonmail.com


                               Constant Contact
                                 (newsletter                                           Inactive
                                   service)

                                   Facebook                                           Inactive

         651-659-6307          Hotline service               1186                     Active

            NSM88                   Twitter                                      Never had access

          Burt Colucci                VK                                              Inactive

           300604375                  VK                                              Inactive

        www.nsm88.org               Website                                      Never had access

                                Yahoo Groups
   nsmworld@yahoogroups.com      (newsletter                                           Inactive
                                   service)

          NSM Media                YouTube                                       Never had access

          [List all other
     Social Media Accounts:]




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                                                                              Status of Account (e.g.,
                                         Provider/                            Active/Inactive/Cannot
      Username/Phone Number                                 Credentials
                                         Platform                             Remember or Recover
                                                                                    Password)


                                         Twitter                                Cannot Remember




        For any listed Social Media Account for which you cannot remember or otherwise access your

credentials, please describe below all the steps you took to recover the information and state why you were

not successful:




                                                     4
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  3.                The following are all the Electronic Devices, as defined in 2(vi) of the Stipulation and

                                    Order, that I have possessed since January 1, 2017 that may contain any

potentially relevant Documents orESI:

                                                         Nature of Responsive Documents on Device
  Device Type (e.g., iPhone 7) Size (e.g” 32 GB)

 [Type and model of each phone
                                            64                       None
 you have used:] iPhone XS Max


 [Type and model of each phone
 you have used:] iPhone 11 Pro              64                       None
             Max

 [Type and model of each phone
        you have used:]


   [Type and model of your old
           computer:]


  [Type and model of your Acer
   laptop computer:] Aspire 3                                                  None
            Model N17Q2

  [Type and model of your new
          computer:]



       [List all other Electronic
               Devices:]




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1. Regarding commander@nsm88.org the account was deleted at the same time that Jeff Schoep signed the
NSM Detroit organization over to James Hart Stern. In the case of this particular account Jeff Schoep would
have been an administrator with privacy privileges. I would have never had access to the emails in the
account, only option was to delete it at the time.

2. Regarding nsm88kv@gmail.com numerous attempts were made to get into this account without success.
The recover number on Gmail only shows the last 2 number of the account holders phone number. Whatever
this phone number is, it is not a telephone that I have ever possessed.

3. Regarding nsmchiefofstaff@gmail.com I did have access to this account at one time. When I try to
access it now or do the recover password option, it tells me the account does not exist. I have never deleted
this account and the recover phone number should be my own.

4. Regarding nsmregionll@gmail.com my efforts from the beginning to recover this account have been in
vain. The recovery phone number has been an unknown number since day one.
5. Regarding my personal Twitter account, I do have access to it via my saved credentials on my cell phone,
but I cannot produce login credentials any other way. The account has had little to no activity since it is
creation date years ago. The recovery email is an old AOL account that I no longer have access to.
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